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                                                                                                                                      Reset Form

 1                                   UNITED STATES DISTRICT COURT
 2                               NORTHERN DISTRICT OF CALIFORNIA
 3                                                   )
     RONALD RAYNALDO, et al.,
                                                     )   Case No: _4:_2_1_______
                                                                          -cv-05808-H
                                                                                _____
                                                                                                           SG
 4                                                   )
                                     Plaintiff(s),   )   APPLICATION FOR
 5                                                   )   ADMISSION OF ATTORNEY
             v.
                                                     )   PRO HAC VICE; ORDER
 6   AMERICAN HONDA MOTOR CO.,                       )   (CIVIL LOCAL RULE 11-3)
     INC.,                                           )
 7
                                     Defendant(s).   )
                                                     )
 8
         I, Nicholas A. Migliaccio                , an active member in good standing of the bar of
 9   the District of Columbia      , hereby respectfully apply for admission to practice pro hac vice in the
10   Northern District of California representing: Ronald Raynaldo, et al.                      in the
     above-entitled action. My local co-counsel in this case is __________________________________,
                                                                Laurence D. King                        an
11   attorney who is a member of the bar of this Court in good standing and who maintains an office
12   within the State of California.
       MY ADDRESS OF RECORD:                                LOCAL CO-COUNSEL’S ADDRESS OF RECORD:
13    MIGLIACCIO & RATHOD LLP                              KAPLAN FOX & KILSHEIMER LLP
      412 H St., NE, Suite 302                             1999 Harrison Street, Suite 1560
14    Washington, D.C. 20002                               Oakland, CA 94612
       MY TELEPHONE # OF RECORD:                            LOCAL CO-COUNSEL’S TELEPHONE # OF RECORD:
15    (202) 470-3520                                       (415) 772-4700
       MY EMAIL ADDRESS OF RECORD:                         LOCAL CO-COUNSEL’S EMAIL ADDRESS OF RECORD:
16    nmigliaccio@classlawdc.com                           lking@kaplanfox.com
        I am an active member in good standing of a United States Court or of the highest court of
17   another State or the District of Columbia, as indicated above; my bar number is: 484366       .
18       A true and correct copy of a certificate of good standing or equivalent official document from said
     bar is attached to this application.
19      I agree to familiarize myself with, and abide by, the Local Rules of this Court, especially the
     Standards of Professional Conduct for attorneys and the Alternative Dispute Resolution Local Rules.
20
         I declare under penalty of perjury that the foregoing is true and correct.
21
      Dated: 11/10/21                                                Nicholas A. Migliaccio
22                                                                                         APPLICANT

23
                                     ORDER GRANTING APPLICATION
24                             FOR ADMISSION OF ATTORNEY PRO HAC VICE
25       IT IS HEREBY ORDERED THAT the application of Nicholas A. Migliaccio                     is granted,
     subject to the terms and conditions of Civil L.R. 11-3. All papers filed by the attorney must indicate
26   appearance pro hac vice. Service of papers upon, and communication with, local co-counsel
27   designated in the application will constitute notice to the party.        AT
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     Dated: 6/24/2022
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                                                                UNITED STATES DISTRICT JUDGE October 2012
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                                                                                       Judge Ha
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     PRO HAC VICE APPLICATION & ORDER
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  On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                   the District of Columbia Bar does hereby certify that



          Nicholas Alexander Migliaccio
       was duly qualified and admitted on February 4, 2005 as an attorney and counselor entitled to
                   practice before this Court; and is, on the date indicated below, a(n)
                              ACTIVE member in good standing of this Bar.




                                                                           In Testimony Whereof,
                                                                       I have hereunto subscribed my
                                                                       name and affixed the seal of this
                                                                            Court at the City of
                                                                        Washington, D.C., on October
                                                                                  20, 2021.




                                                                             JULIO A. CASTILLO
                                                                               Clerk of the Court




                                                                   Issued By:
                                                                            District of Columbia Bar Membership




For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                    memberservices@dcbar.org.
